      Case 1:24-cv-00258-KCD           Document 1-1       Filed 02/20/24      Page 1 of 1

                         DISTRICT OF COLUMBIA AIR NATIONAL GUARD
                                     113th Operations Group
                                      3029 EAST PERIMETER ROAD
                                  JOINT BASE ANDREWS MD 20762-5011


                                                                                        13 Jun 2017

MEMORANDUM FOR LT COL JENNER TORRENCE

FROM: 11300/CC

SUBJECT: Letter of Reprimand

References:    (a) AFI 1-1 Air Force Standards
               (b) AFI 36-2909 Professional and Unprofessional Relationships

1. This letter is to advise you that you are officially being reprimanded for your inappropriate
relationship with a fellow officer in the Operations Group.

2. You are hereby reprimanded for displaying poor judgment and failure to fulfill your
responsibilities as a Field Grade Officer during the period starting on or about December 2016
and ending on or about May 2017. Your actions during this period created the perception of an
inappropriate relationship with another officer, were prejudicial to good order and discipline, and
were of a nature to bring discredit upon the Armed Forces of the United States in violation of
AFis 1-1 and 36-2909.

3. This Letter of Reprimand will remain on file in accordance with Air Force Instructions/IO
Regulations.

4. PRIVACY ACT. AUTHORITY: 10 U.S.C. 8013. PURPOSE: To obtain any comments or
documents you desire to submit (on a voluntary basis) for consideration concerning this action.
ROUTINE USES: Provides you an opportunity to submit your comments or documents for
consideration. If provided, the comments and documents you submit become a part of the action.
DISCLOSURE: Your written acknowledgement ofreceipt and signatwe is mandatory. Any
other comment or document you provide is voluntary.

5. You will acknowledge receipt and return this letter to me within 3 workdays of your receipt.
Your signature on this document is solely for receipt purposes and is not an admission of guilt.
Any comments or documents you wish to be considered concerning this LOR must be included
with your response.


                                                  ~ E/4. ...-··
                                                    JOHN E. V   ARo.Ji,Colonel, ANG
                                                    Commander

Attachments:
    1. Memorandum - Receipt of Letter of Reprimand
